  Case 2:19-cv-00289-UA-MRM Document 1 Filed 05/02/19 Page 1 of 5 PageID 1



                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                 FORT MYERS DIVISION

                              Civil Case Number: ________________

                                                    :
Peter Gerold,                                       :
                                                    :
                        Plaintiff,                  :
        v.                                          :
                                                    :
Santander Consumer USA, Inc.,                       :
                                                    :
                        Defendant.                  :
                                                    :
                                                    :


                                           COMPLAINT

        For this Complaint, the Plaintiff, Peter Gerold, by undersigned counsel, states as follows:


                                     JURISDICTION AND VENUE

        1.      This action arises out of Defendant’s repeated violations of the Telephone

Consumer Protection Act 47 U.S.C. § 227, et seq. (the “TCPA”) and the Florida Consumer

Collection Practices Act, Fla. Stat. §§ 559.55-559.785 (“FCCPA”).

        2.      This Court has jurisdiction pursuant to 28 U.S.C. § 1331 and § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant

transacts business in this District and a substantial portion of the acts giving rise to this action

occurred in this District.

                                              PARTIES

        4.      Plaintiff, Peter Gerold (“Plaintiff”), is an adult individual residing in Cape Coral,

Florida, and is a “person” as defined by 47 U.S.C. § 153(39), and is a “consumer” as the term is

defined by 15 U.S.C. § 1692a(3) and Fla. Stat. § 559.55(2)
  Case 2:19-cv-00289-UA-MRM Document 1 Filed 05/02/19 Page 2 of 5 PageID 2



       5.      Defendant Santander Consumer USA, Inc. (“Santander”), is a Texas business

entity with an address of 8585 North Stemmons Freeway, Suite 1100 N, Dallas, Texas 75247,

and is a “person” as defined by 47 U.S.C. § 153(39), and is a “creditor” as defined in 559.55(3).


                                              FACTS

       6.      Plaintiff’s daughter took out a consumer auto loan, and Plaintiff co-signed for the

loan (the “Debt”).

       7.      Within the last year, Santander began calling Plaintiff’s cellular telephone,

number XXX-XXX-0249, using an automatic telephone dialing system (“ATDS”) in an attempt

to collect the Debt from Plaintiff’s daughter and/or Plaintiff (collectively the “Debtors”).

       8.      When Plaintiff answered calls from Santander, he heard a pre-recorded message

and had to wait on the line before he was connected to the next available representative.

       9.      On or about October 18, 2018, Plaintiff spoke with a live representative and

informed representative that the payments were the responsibility of Plaintiff’s daughter and that

he would not be making any payments. Plaintiff requested that all calls to him cease.

       10.     Nevertheless, Santander continued to place automated calls to Plaintiff’s cellular

telephone number.

       11.     On January 7, 2019, Plaintiff received a call from Santander’s representative,

Valerie. Plaintiff again requested that all calls to him cease and questioned why he was still

receiving calls. Santander’s representative responded that their system was an autodialer that

randomly made the calls.

       12.     Santander thereafter made at least two additional calls to Plaintiff, one of which

took place on January 16, 2019.




                                                 2
  Case 2:19-cv-00289-UA-MRM Document 1 Filed 05/02/19 Page 3 of 5 PageID 3



                                        COUNT I
                        VIOLATIONS OF THE TCPA – 47 U.S.C. § 227, et. seq.

       13.       Plaintiff incorporates Paragraphs 1 through 12 of this Complaint as though fully

stated herein.

       14.       At all times mentioned herein, Defendant called Plaintiff’s cellular telephone

number using an ATDS or predictive dialer.

       15.       In expanding on the prohibitions of the TCPA, the Federal Communications

Commission (“FCC”) defines a predictive dialer as “a dialing system that automatically dials

consumers’ telephone numbers in a manner that ‘predicts’ the time when a consumer will answer

the phone and a [representative] will be available to take the call…” 2003 TCPA Order, 18 FCC

36 Rcd 14022. The FCC explains that if a representative is not “free to take a call that has been

placed by a predictive dialer, the consumer answers the phone only to hear ‘dead air’ or a dial

tone, causing frustration.” Id. In addition, the TCPA places prohibitions on companies that

“abandon” calls by setting “the predictive dialers to ring for a very short period of time before

disconnecting the call; in such cases, the predictive dialer does not record the call as having been

abandoned.” Id.

       16.       Defendant’s telephone system(s) have some earmarks of a predictive dialer.

       17.       When Plaintiff answered calls from Defendant, he heard a pre-recorded message

before Defendant’s telephone system would connect him to the next available representative.

       18.       Defendant’s predictive dialers have the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

       19.       Defendant admitted that it was using an autodialer to call Plaintiff.

       20.       Defendant placed automated calls to Plaintiff’s cellular telephone number despite

knowing that it lacked consent to do so. As such, each call placed to Plaintiff was made in

                                                   3
  Case 2:19-cv-00289-UA-MRM Document 1 Filed 05/02/19 Page 4 of 5 PageID 4



knowing and/or willful violation of the TCPA, and subject to treble damages pursuant to 47

U.S.C. § 227(b)(3)(C).

         21.     The telephone number called by Defendant was and is assigned to a cellular

telephone service for which Plaintiff incurs charges pursuant to 47 U.S.C. § 227(b)(1).

         22.     Plaintiff was annoyed, harassed, and inconvenienced by Defendant’s continued

calls.

         23.     The calls from Defendant to Plaintiff were not placed for “emergency purposes”

as defined by 47 U.S.C. § 227(b)(1)(A)(i).

         24.     Plaintiff is entitled to an award of $500.00 in statutory damages for each call in

violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

         25.     As a result of each call made in knowing and/or willful violation of the TCPA,

Plaintiff is entitled to an award of treble damages in an amount up to $1,500.00 pursuant to 47

U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

                                     COUNT II
                       VIOLATIONS OF THE FLORIDA CONSUMER
               COLLECTION PRACTICES ACT, FLA. STAT. §§ 559.55-559.785

         26.     Plaintiff incorporates paragraphs 1 through 12 of this Complaint as though fully

stated herein.

         27.     Plaintiff is a “consumer,” as defined in Fla. Stat. § 559.55(2).

         28.     Defendant is a “creditor” as defined in Fla. Stat. § 559.55(3).

         29.     Defendant willfully communicated with Plaintiff or any member of his family

with such frequency as can reasonably be expected to harass Plaintiff or his family, or willfully

engaged in other conduct which can reasonably be expected to abuse or harass Plaintiff or any




                                                   4
  Case 2:19-cv-00289-UA-MRM Document 1 Filed 05/02/19 Page 5 of 5 PageID 5



member of her or his family, in violation of the Florida Consumer Collection Practices Act, Fla.

Stat. § 559.72(7).

       30.     Plaintiff is entitled to damages as a result of Defendant’s violations.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

               A. Statutory damages for each violation determined to be negligent pursuant to 47

                     U.S.C. § 227(b)(3)(B) and Fla. Stat. §. 559.77;

               B. Actual damages pursuant to Fla. Stat. § 559.77;

               C. Punitive damages pursuant to Fla. Stat § 559.77;

               D. Treble damages for each violation determined to be willful and/or knowing

                     pursuant to 47 U.S.C. § 227(b)(3)(C);

               E. Costs of litigation and reasonable attorney’s fees pursuant to Fla. Stat. § 559.77

                     against the Defendant; and

               F. Such other and further relief as may be just and proper.



                           TRIAL BY JURY DEMANDED ON ALL COUNTS



Dated: May 2, 2019

                                                        Respectfully submitted,

                                                        By /s/ Janelle A. Weber
                                                        Janelle A. Weber, Esq.
                                                        Florida Bar No. 017630
                                                        Law Office of Janelle A. Weber, P.A.
                                                        1520 W. Cleveland St., Ste. A
                                                        Tampa, FL 33606
                                                        Telephone: (813) 982-3663
                                                        Facsimile: (813) 982-3810
                                                        E-mail: jweber@janelleweberlaw.com

                                                   5
